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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF OHIO
                      WESTERN DIVISION AT DAYTON

UNITED STATES OF AMERICA,

                               Plaintiff,            :       Case No. 3:10-cr-210
                                                             Also Case No. 3:13-cv-414

                                                             District Judge
       -   vs   -                                            Magistrate Judge Michael R. Merz

GEORGE A. BILLINGSLEY,


                               Defendant.            :



                      REPORT AND RECOMMENDATIONS


       This case is before the Court on Defendant George Billngsley’s Motion to Vacate under

28 U.S.C. § 2255 (Doc. No. 788). The Motion is before the Court for initial review pursuant to

Rule 4(b) of the Rules Governing ' 2255 Cases which provides:

                The judge who receives the motion must promptly examine it. If it
                plainly appears from the motion, any attached exhibits, and the
                record of prior proceedings that the moving party is not entitled to
                relief, the judge must dismiss the motion and direct the clerk to
                notify the moving party. If the motion is not dismissed, the judge
                must order the United States to file an answer, motion, or other
                response within a fixed time, or take other action the judge may
                order.


       Under the General Order of Assignment and Reference for Dayton, all § 2255 motions

filed in Dayton criminal cases are referred to the undersigned under 28 U.S.C. § 636(b).

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     Billingsley pleads the following grounds for relief:

            Ground One: Billingsley received ineffective assistance of
            counsel. See Stickland [sic] v. Washington, 466 U.S. 668 (1984).

            Supporting Facts: Movant respectfully advances the proposition
            trial counsel induced him to plead guilty based on erroneous and
            incorrect advice. Without question counsel’s representation fell
            below an objective standard of reasonableness, as is judged by
            “prevailing professional norms.” In assessing attorney Phillip D.
            Lehmkuhl’s representation and more befitting “ineffective
            assistance of counsel” claim, Movant alleges, intera [sic] alia, that
            counsel failed to adequately fulfill his professional duties and
            responsibilities in that: 1) Failed to investigate and familiarize
            himself with the facts of the case in relation to the guilty plea
            constitutes ineffective [assistance] and renders the plea
            ‘INVOLUNTARY.’ See Attached Memorandum of Law.

            Ground Two: Movant’s acceptance of the plea agreement cannot
            be construed as voluntary, knowing, or intelligently entered into
            when he could not have possibly understood the consequences of
            entering a plea agreement.

            Supporting Facts: The standard for determining the validity of a
            guilty plea is whether the plea represents a voluntary and
            intelligent choice among alternative courses of action open to the
            defendant. See North Carolina v. Alford, 400 U.S. 25 (1970); see
            also Brady v. United States, 397 U.S. 742 (1970). It must be an
            intelligent act “done with sufficient awareness of the relevant
            circumstances and likely consequences.”         See McMann v.
            Richardson, 397 U.S. 759 (1970).              Clearly, counsel’s
            ineffectiveness and lack of communication led to Movant[‘s]
            entering an unknowing and involuntary plea. See Attached
            Memorandum of Law.

            Ground Three: The evidence presented by the Government fails
            to prove or sustain the necessary components in order to obtain a
            conviction for conspiracy as opposed to the obvious buyer-seller


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           relationship shared by Movant Billingsley and Michael Stephens.
           See Attached Memorandum of Law.

           Supporting Facts: Distributing drugs and conspiring to distribute
           drugs are two separate crimes. Drug distribution punishes the sale
           of drugs in its own right. Conspiracy, on the other hand,
           “punish[es] criminal objectives beyond the sale itself – typically
           the parties’ agreement to distribute the drug exchanged. To
           establish that a [buyer-seller] knowingly became a member of a
           conspiracy with a [seller-buyer] to distribute ‘heroin’ possess
           heroin with intent to distribute, the Government must prove that
           the buyer and seller had the joint criminal objective of distributing
           heroin to others. See United States v. Hereford, 162 F. App’x 439
           (6th Cir.); see also United States v. Gardener, 448 F. 3d 700 (6th
           Cir. 2007).

           Ground Four: The U.S. District Court erred in its determination
           that it had no other alternative but to impose a ten (10) year
           mandatory minimum sentence.

           Supporting Facts: With all due respect, the U.S. District Court
           did not explicitly determine his relevant conduct within the alleged
           conspiracy, which would assuredly affected [sic] the mandatory
           minimum applicable sentence. When calculating Movant’s base
           offense level under the Guidelines, the sentencing court is required
           to consider the quantity of drugs that are part of the same course of
           conduct or common scheme or plan. See United States v. Cox,
           565 F.3d 1013 (6th Cir. 2009).

           Ground Five: Movant did not knowingly waive and/or forfeit any
           argument regarding the ten (10) year mandatory minimum
           sentence imposed by the Court.

           Supporting Facts: Contrary to any anticipated asseveration by
           the United States Attorney's Office, the record will unequivocally
           reflect that the Movant vehemently contested, objected and
           opposed the ten year mandatory minim [sic.] sentence imposed in
           the instant case. Specifically, trial counsel Phillip D. Lehmhukl,
           Esq. filed a Supplemental Sentencing 'Memorandum in which
           counsel argued that Movant should only be held accountable for a


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                  few ounces of heroin as a street level dealer, NOT as a co-
                  conspirator in a much larger conspiracy. See Attached
                  Memorandum of Law.

                  Ground Six: The U.S. District Court erred in determining the
                  drug quantity attributable to Movant Billingsley in the instant case.

                  Supporting Facts: A trial court cannot summarily adopt the
                  findings of the Presentence Investigation report (PSI). See United
                  States v. Tarwater, 308 F.3d 494, 518 (6th Cir. 2002).
                  Unfortunately, that is exactly what transpired in the instant case.
                  The purpose of Rule 32(c)(1) is to ensure that sentencing is based
                  on reliable facts found by the Court itself after deliberation, a
                  Court may not merely summarily adopt the factual findings in the
                  PSI Report. See United States v. Corrado, 227 F.3d 528, 540 (6th
                  Cir. 2000). See Attached Memorandum of Law.

                  Ground Seven: The U.S. District Court imposed an unreasonably
                  harsh sentence that was greater than necessary to satisfy the
                  purposes of sentencing set forth in 18 USC§ 3553(a). See Attached
                  Memorandum of Law.

                  Supporting Facts: Movant Billingsley respectfully submits that it
                  was unreasonable for the sentencing court to mechanically adopt
                  the Government's position and impose the mandatory minimum
                  sentence of 120 months. The primary directive of § 353(a) is for
                  sentencing courts to “impose a sentence sufficient, but NOT
                  greater than necessary, to comply with the goals of sentencings
                  [sic] set forth in subparagraph (2) of§ 3553(a).” His 120 month
                  term of imprisonment conflicts with this parsimony principle.

                  Ground Ten:1 The sentence imposed is unreasonable due to the
                  fact the U.S. District Court failed to grant Movant a mitigating
                  reduction in his base offense level pursuant to U.S.S.G. § 3B1.2 as
                  a minimal and/or minor participant in the alleged conspiracy that
                  could have very well resulted in a less harsh sentence absent the



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 In what are labeled paragraphs “VIII” and “IX” in the midst of his grounds for relief, Billingsley argues he is
entitled to an evidentiary hearing and that he can establish cause and prejudice to overcome any procedural default.
(Doc.No. 788 at PageID 2848-49.)

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               mandatory minimum         sentence   imposed.       See   Attached
               Memorandum of Law.

(Motion, Doc. No. 788, PageID 2842-49.)



Procedural History



        On July 12, 2011, the grand jury for this District returned an indictment charging

Billingsley and others with drug-related crimes. Billingsley was charged in Counts 1, 9, 14, 25,

and 28 (Doc. No. 344). On July 29, 2011, Billingsley entered into a Plea Agreement with the

United States in which he agreed to plead guilty to Count One of that indictment, charging him

with conspiring to distribute and to possess with intent to distribute one kilogram or more of

heroin. (Plea Agreement, Doc. No. 439, PageID 1338.) In the same paragraph he admitted he

was guilty of that offense. In the agreed Statement of Facts attached to the Plea Agreement,

Billingsley admitted he agreed with others to distribute heroin “in a conspiracy involving more

than one kilogram of heroin” and admitted that amount was foreseeable to him. Id. PageID

1345.

        On September 29, 2011, Billingsley appeared with counsel before Magistrate Judge (now

Chief Magistrate Judge) Sharon Ovington for a plea colloquy under Fed. R. Crim. P. 11 (Minute

Entry, Doc. No. 440).       Pursuant to that colloquy, Judge Ovington recommended that

Billingsley’s guilty plea be accepted (Report and Recommendations, Doc. No. 441). In part,

Judge Ovington found Billingsley’s guilty plea was knowing, intelligent and voluntary. Id. at

PageID 1347. She also found that the Statement of Facts provided a sufficient factual basis for a

finding of gjuilt. Id. at PageID 1348. Billingsley was advised that he had seventeen days to

object and that “[f]ailure to make objections in accordance with this procedure may forfeit rights

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on appeal. See United States v. Walters, 638 F.2d 947 (6th Cir. 1981); Thomas v. Arn, 474 U.S.

140 (1985).” Id. at PageID 1349. No objections were filed within the time allowed by law.

       On June 7, 2012, Judge Rice sentenced Billingsley to the term of imprisonment he is now

serving (Doc. Nos. 624, 625). Billingsley, represented by new appointed counsel, appealed to

the Sixth Circuit (Notice of Appeal, Doc. No. 632). That court affirmed the conviction and

sentence on April 16, 2013. United States v. Billingsley, Case No. 12-3807 (unreported, copy at

Doc. No. 742). No attempt was made to appeal to the United States Supreme Court and

Billingsley timely filed the instant Motion to Vacate pro se.



                                           Analysis


Ground One: Ineffective Assistance of Trial Counsel



       In his First Ground for Relief, Billingsley claims he received ineffective assistance of

trial counsel from attorney Phillip Lehmkuhl. Billingsley makes several pages of conclusory

statements about the obligations of a defense attorney (Memorandum on Law, Doc. No. 788-1,

PageID 2857-64). The gravamen of this First Ground for Relief, however, is that Lehmkuhl

failed, despite Billingsley’s request, to object to ¶¶ 60, 82, 83, 85, 86, 88, 89, and 91 of the

Presentence Investigation Report. Id. PageID 2864-65. In ¶ 60 the PSR writer attributed at least

one kilogram but less than three kilograms of heroin to Billngsley who insists that he only

bought less than 500 grams and should therefore have a base offense level under the Guidelines

of 28 instead of 32. The other paragraphs all relate to convictions for possession of marijuana




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which Billingsley asserts are void for failure to state the “manner of conviction” (¶ 83) or were

uncounseled (¶¶82, 85, 86, 88, 89, and 91).

       The governing standard for ineffective assistance of counsel is found in Strickland v.

Washington, 466 U.S. 668 (1984):


              A convicted defendant's claim that counsel's assistance was so
              defective as to require reversal of a conviction or death sentence
              has two components. First, the defendant must show that counsel's
              performance was deficient. This requires showing that counsel
              was not functioning as the "counsel" guaranteed the defendant by
              the Sixth Amendment. Second, the defendant must show that the
              deficient performance prejudiced the defense. This requires
              showing that counsel's errors were so serious as to deprive the
              defendant of a fair trial, a trial whose result is reliable. Unless a
              defendant makes both showings, it cannot be said that the
              conviction or death sentence resulted from a breakdown in the
              adversary process that renders the result unreliable.

466 U.S. at 687.

       With respect to the first prong of the Strickland test, the Supreme Court has commanded:

              Judicial scrutiny of counsel's performance must be highly
              deferential. . . . A fair assessment of attorney performance requires
              that every effort be made to eliminate the distorting effects of
              hindsight, to reconstruct the circumstances of counsel=s challenged
              conduct, and to evaluate the conduct from counsel=s perspective at
              the time. Because of the difficulties inherent in making the
              evaluation, a court must indulge a strong presumption that
              counsel's conduct falls within a wide range of reasonable
              professional assistance; that is, the defendant must overcome the
              presumption that, under the circumstances, the challenged action
              "might be considered sound trial strategy."

466 U.S. at 689.

       As to the second prong, the Supreme Court held:

              The defendant must show that there is a reasonable probability
              that, but for counsel's unprofessional errors, the result of the
              proceeding would have been different. A reasonable probability is

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               a probability sufficient to overcome confidence in the outcome.

466 U.S. at 694. See also Darden v. Wainwright, 477 U.S. 168 (1986); Wong v. Money, 142

F.3d 313, 319 (6th Cir. 1998); Blackburn v. Foltz, 828 F.2d 1177 (6th Cir. 1987). See generally

Annotation, 26 ALR Fed 218.

       In other words, to prevail on a claim of ineffective assistance of trial counsel Billingsley

must show that counsel performed at a level below “prevailing professional norms” and that he

was prejudiced by that deficient performance. Assuming for the sake of argument that an

attorney is required by prevailing professional norms to make arguments requested by his client

of the type referred to in this claim, Billingsley cannot prove prejudice. In the Statement of Facts

he admitted to conspiring with others to possess and possession with intent to distribute more

than one kilogram of heroin. The mandatory minimum sentence for a conspiracy to distribute

that amount of heroin is ten years imprisonment. That is the sentence Billingsley received and is

now serving. That mandatory minimum was chosen by the Congress of the United States. A

sentencing federal judge has no power to impose a lesser sentence in such a case. Although

Judge Rice was obliged to consider the results of the presentence investigation, including the

Sentencing Guidelines calculation, once he chose to sentence Billingsley to the mandatory

statutory minimum of ten years, all those calculations became immaterial. In other words,

assume Attorney Lehmkuhl was successful in having had all the marijuana convictions in ¶¶ 82,

83, 85, 86, 88, 89, and 91 stricken from the presentence investigation report and convincing the

probation officer or Judge Rice that Billingsley himself had only bought less than 500 grams of

heroin for resale. That would still have made no different in the sentence because those facts,

assuming their truth, could not have lowered the sentence below what Congress mandated.

       Therefore the First Ground for Relief should be dismissed with prejudice on the merits.


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Ground Two: Involuntary Guilty Plea



       In his Second Ground for Relief, Billingsley asserts his guilty plea was not knowing,

intelligent, and voluntary. As with Ground One, he recites at some length the legal standards for

a valid guilty plea but claims that attorney Lehmkuhl failed to provide him with “critical

information” necessary to make the plea voluntary (Motion, Doc. No. 788-1, PageID 2867).

However, he fails to allege what information he did not have that he has now learned and how it

would have made his choice to plead guilty different. He accuses Lehmkuhl of “inept lawyering

tactics,” but does not say what they were or how they made his plea involuntary. Id. at PageID

2868. He acknowledges that a properly conducted Rule 11 plea colloquy is a “formidable

barrier” to an attack on his plea, but then contents himself with asserting that it is not an absolute

barrier. Id. He asks for an evidentiary hearing, but does not say what facts he would present that

would undermine the guilty plea.        He asserts “[t]he first fallacy perpetuated in the plea

bargaining process obviously results in a voluntary agreement between two parties that would

commensurate with equal bargaining power.” Id. at PageID 2870. But he cites no authority for

the proposition that an accused heroin dealer must be found to have had equal bargaining power

with the United States Attorney before a guilty plea is voluntary.

       A plea of guilty or no contest is valid if it is entered voluntarily and intelligently, as

determined by the totality of the circumstances. Brady v. United States, 397 U.S. 742, 748

(1970); Boykin v. Alabama, 395 U.S. 238, 242-44 (1969); King v. Dutton, 17 F.3d 151 (6th Cir.

1994); Riggins v. McMackin, 935 F.2d 790, 795 (6th Cir. 1991); Berry v. Mintzes, 726 F.2d

1142, 1146 (6th Cir. 1984). The determination of whether this plea was intelligently made


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depends upon the particular facts and circumstances of each case. Johnson v. Zerbst, 304 U.S.

458, 463 (1938); Garcia v. Johnson, 991 F.2d 324, 326 (6th Cir. 1993).

       In order for a guilty plea to be constitutional it must be knowing, intelligent, voluntary,

and done with sufficient awareness of the relevant circumstances and likely consequences.

Bradshaw v. Stumpf, 545 U.S. 175, 183 (2005).          The defendant must also be aware of the

maximum sentence that can be imposed for the crime for which he is pleading. King v. Dutton,

17 F.3d 151, 154 (6th Cir. 1994). The voluntariness of a guilty or no contest plea is determined

in light of all relevant circumstances surrounding the plea. Brady, 397 U.S. at 749. Where a

defendant is “fully aware of the likely consequences” of a plea, it is not unfair to expect him to

live with those consequences. Mabry v. Johnson, 467 U.S. 504, 511 (1984). A plea-proceeding

transcript which suggests that a guilty or no contest plea was made voluntarily and knowingly

creates a “heavy burden” for a petitioner seeking to overturn his plea. Garcia v. Johnson, 991

F.2d 324, 326–28 (6th Cir. 1993). Where the transcript shows that the guilty or no contest plea

was voluntary and intelligent, a presumption of correctness attaches to the state court findings of

fact and to the judgment itself. Id. at 326–27.

       A court cannot rely on the petitioner’s alleged “subjective impression” “rather than the

bargain actually outlined in the record,” for to do so would render the plea colloquy process

meaningless. Ramos v. Rogers, 170 F.3d 560, 566 (6th Cir. 1999). If the plea colloquy process

were viewed in this light, any defendant who alleged that he believed the plea bargain was

different from that outlined in the record would have the option of withdrawing his plea despite

his own statements during the plea colloquy indicating the opposite. Id.




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         By entering a plea of guilty, the accused is not simply stating that he did the discrete acts

described in the indictment; he is admitting guilt of a substantive crime. United States v. Broce,

488 U.S. 563, 570 (1989); McCarthy v. United States, 394 U.S. 459, 466 (1969).

         Where a district court has scrupulously followed the required procedure under Fed. R.

Crim. P. 11, "the defendant is bound by his statements in response to that court's inquiry." Baker

v. United States, 781 F.2d 85, 90 (6th Cir. 1986), quoting Moore v. Estelle, 526 F.2d 690 (5th

Cir. 1976).     The defendant must at least have a "sufficient awareness of the relevant

circumstances and likely consequences." Brady v. United States, 397 U.S. 742, 748 (1970);

Kercheval v. United States, 274 U.S. 220, 223 (1927). Hart v. Marion, 927 F.2d 256 (6th Cir.

1991).

         The record shows that Billingsley’s plea colloquy occurred before Judge Ovington (Plea

Tr., Doc. No. 665, PageID 2108). She recited the elements of the offense and Mr. Lehmkuhl

stated, without contradiction by Billingsley, he was confident Billingsley understood the charge

to which he was pleading. Id. at PageID 2110. Billingsley was sworn to tell the truth in that

proceeding. Id. at PageID 2111. He indicated he could read the English language and had read

and understood both the Fourth Superseding Indictment and the Plea Agreement. Id. at PageID

2113. Judge Ovington read the Statement of Facts, including the admission of conspiracy to

distribute more than one kilogram of heroin. Id. at PageID 2114-15. Mr. Lehmkuhl indicated the

Statement of Facts had been negotiated. Id. at PageID 2117. He said, without contradiction by

Billingsley, that he had advised Billingsley that the mandatory minimum statutory penalty was

ten years. Billingsley himself indicated he understood the mandatory minimum statutory penalty

of ten years. Id. at PageID 2121. Billingsley indicated that no one, including Lehmkuhl, had




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told him anything different from what Judge Ovington had told him during the colloquy. Id. at

PageID 2126.

          Judge Ovington then discussed the rights Billingsley would be giving up by pleading

guilty.    Id. at PageID 2127-29.      The Assistant United States Attorney then read the Plea

Agreement, including the provision that by signing it, Billingsley would be acknowledging that

his plea as knowing, intelligent, and voluntary. Id. at PageID 2129-37. After further discussion

of the plea and without any indication by Billingsley that he did not understand or agree, he

entered a plea of guilty. Id. at PageID 2141.

          As noted above, based on the plea colloquy Judge Ovington recommended Billingsley’s

guilty plea be accepted (Report and Recommendations, Doc. No. 441).                 Billingsley never

objected to that Report and never attempted to withdraw his guilty plea.

          Based on this state of the record, Billingsley has utterly failed to set forth any facts upon

which the Court could find his guilty plea was anything other than knowing, intelligent, and

voluntary. The Second Ground for Relief should therefore be dismissed with prejudice.



Ground Three: Insufficient Factual Basis for Conviction



          In his Third Ground for Relief, Billingsley asserts “the evidence presented by the

Government in the instant case fails to prove or sustain the necessary components” for a

conspiracy conviction (Motion, Doc. No. 788-1, PageID 2871).

          Of course, the Government did not “present” any evidence in this case; no evidence is

presented when a defendant pleads guilty. Billingsley argues at length that he just had a buyer-

seller relationship with Michael Stephens, but he admits that the purpose of his purchases from



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Stephens was to sell to others. Id. at PageID 2873. He asserts that “to obtain a conviction for

conspiracy, the Government must prove beyond a reasonable doubt that there was an agreement

to achieve some illegal purpose, that the defendant knew of the agreement, and that the

defendant knowingly became a part of the conspiracy.” Id. at PageID 2874. He cites a number

of Sixth Circuit cases in which the circuit court held proof of a buyer-seller relationship was not

sufficient to prove a conspiracy.

       When a defendant enters a valid plea of guilty, the Government does not have to prove

anything. It is, of course, a separate question whether there is an adequate factual basis for a

finding of guilt, but here Billngsley admitted that he “agreed with others to distribute and

possess with intent to distribute heroin into the Southern District of Ohio in a conspiracy

involving more than one kilogram of heroin, an amount foreseeable to Defendant.”             (Plea

Agreement, Doc. No. 439, PageID 1345.) He also admitted he knew that “Stephens received his

heroin from a person(s) acting as a source of supply.”

       That admitted facts are sufficient to establish a conspiracy. Billingsley’s Third Ground

for Relief should therefore be dismissed with prejudice.



Ground Four: District Court Error on the statutory mandatory minimum.



       In his Fourth Ground for Relief, Billingsley asserts Judge Rice was wrong in believing he

was required to impose the statutory mandatory minimum sentence of ten years (Motion, Doc.

No. 788-1, PageID 2875-77). He notes Judge Rice’s comment that he would have preferred to

impose a lighter sentence, but was legally bound to impose the mandatory minimum. Id. at

PageID 2876.



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       Billingsley cites United States v. Cox, 565 F.3d 1013 (6th Cir. 2009), for the proposition

that Judge Rice could have imposed a lesser sentence. Id. That case is inapposite. In Cox, the

Sixth Circuit relied on the prior law that the drug quantity necessary to trigger a particular

mandatory minimum did not have to be alleged in the indictment and proved to a jury. The

relevant Supreme Court holding to that effect was Harris v. United States, 536 U.S. 545 (2002).

But Harris has been explicitly overruled by the Supreme Court. Alleyne v. United States. 570

U.S. ___, 133 S. Ct. 2151, 186 L. Ed. 2d 314 (2013). More importantly, in Cox the drug

quantity attributable to the defendant was being proven to court as part of the sentencing process,

whereas here the relevant amount was admitted as part of the plea colloquy. Judge Rice was not

required to find as a matter of fact that Billingsley was involved with a kilogram or more;

Billingsley had admitted that fact. The Sixth Circuit noted this fact in affirming the conviction:

“The [district] court rejected Billingsley’s objections related to drug quantity based on

Billingsley’s sworn admission during his plea hearing to the Statement of Facts in his plea

agreement.” Billingsley, supra, PageID 2608. In fact, as the court of appeals noted, Judge Rice

gave Billingsley an opportunity to consider moving to withdraw his guilty plea if it was based on

a misunderstanding of the applicable mandatory minimum sentence.             Id. at PageID 2609.

Indeed, the Sixth Circuit expressly held that Billingsley had waived any argument that ten years

was not the mandatory minimum. Billingsley, supra, PageID 2612.

       The Fourth Ground for Relief is therefore without merit and should be dismissed with

prejudice.




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Ground Five: Ground Four Was Not Waived.



       In his Fifth Ground for Relief, Billingsley argues, contrary to the finding of the Sixth

Circuit, that he did not waive his argument about being subject to the mandatory minimum.

Billingsley’s claim of lack of waiver is foreclosed by the decision of the Sixth Circuit. This

Court does not have authority to modify a finding by the appellate court. The Fifth Ground for

Relief should therefore be dismissed with prejudice.



Ground Six: District Court Error in Determining the Drug Quantity



       In his Sixth Ground for Relief, Billingsley again argues Judge Rice erred in determining

drug quantity because he adopted the findings in the presentence investigation report.

Billingsley argues the “record is devoid of any evidence definitively supporting the trial court’s

drug-quantity determination.” (Motion, Doc. No. 788-1, PageID 2880). To the contrary, as

already explained above, the definitive evidence is Billingsley’s admission to conspiring to

possess and possess with intent to distribute more than one kilogram of heroin. No other fact is

necessary and Ground Six should therefore be dismissed with prejudice.



Ground Seven: Unreasonably Harsh Sentence



       In his Seventh Ground for Relief, Billingsley contends his sentence is unreasonably

harsh. He relies on 18 U.S.C. § 3553 for the proposition that the court is only to impose a

sentence “sufficient, but not greater than necessary, to comply with the purposes of sentencing . .



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. .” (Motion, Doc. No. 788-1, PageID 2882.) He then cites cases interpreting that statute.

However, he cites no authority for the proposition that after considering all of the § 3553 factors,

a judge may sentence below the statutory mandatory minimum. Billingsley’s quarrel about the

harshness of his sentence lies with Congress and not with Judge Rice, who agreed that the

sentence was too harsh, but understood he was powerless to impose a more lenient sentence.

`      Ground Seven is without merit and should be dismissed with prejudice.



Ground Ten: Sentence Unreasonable for Failure to Grant Mitigating Reduction



       In his Tenth Ground for Relief, Billingsley asserts he was entitled to a reduction in

sentence because he had a minimal or minor role in the conspiracy (Motion, Doc. No. 788-1,

PageID 2889-90). This Ground for Relief should also be dismissed with prejudice because none

of the authority cited by Billingsley would have permitted Judge Rice to reduce the sentence

below the statutory mandatory minimum.



Conclusion



       On the basis of the foregoing analysis, it is respectfully recommended that the Motion to

Vacate be dismissed with prejudice in its entirety. None of this analysis relies on any possible

procedural default by Billingsley, so it is not necessary to consider his claims of excusing cause

and prejudice. Nor does Billingsley rely on any contested material facts that might be proven at

an evidentiary hearing, so no such hearing is required. Because reasonable jurists would not




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disagree with this conclusion, Petitioner should be denied a certificate of appealability and the

Court should certify to the Sixth Circuit that any appeal would be objectively frivolous.



December 13, 2013.

                                                               s/ Michael R. Merz
                                                              United States Magistrate Judge


                            NOTICE REGARDING OBJECTIONS

Pursuant to Fed. R. Civ. P. 72(b), any party may serve and file specific, written objections to the
proposed findings and recommendations within fourteen days after being served with this Report
and Recommendations. Pursuant to Fed. R. Civ. P. 6(d), this period is extended to seventeen
days because this Report is being served by one of the methods of service listed in Fed. R. Civ.
P. 5(b)(2)(C), (D), (E), or (F). Such objections shall specify the portions of the Report objected
to and shall be accompanied by a memorandum of law in support of the objections. If the Report
and Recommendations are based in whole or in part upon matters occurring of record at an oral
hearing, the objecting party shall promptly arrange for the transcription of the record, or such
portions of it as all parties may agree upon or the Magistrate Judge deems sufficient, unless the
assigned District Judge otherwise directs. A party may respond to another party=s objections
within fourteen days after being served with a copy thereof. Failure to make objections in
accordance with this procedure may forfeit rights on appeal. See United States v. Walters, 638
F.2d 947, 949-50 (6th Cir. 1981); Thomas v. Arn, 474 U.S. 140, 153-55 (1985).




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